Case 3:17-cv-00072-NKM-JCH Document 547-18 Filed 09/03/19 Page 1 of 2 Pageid#:
                                   6205




        EXHIBIT 18
       Case 3:17-cv-00072-NKM-JCH Document 547-18 Filed 09/03/19 Page 2 of 2 Pageid#:
                                          6206




From: Michael Bloch
Sent: Thursday, August 22, 2019 12:04 AM
To: 'Edward ReBrook, ESQ' <rebrooklaw@gmail.com>
Subject: Sines v. Kessler

Mr. ReBrook,
        As we noted May 13, there remain a number of outstanding discovery items for your clients.
   With respect to Mr. Schoep, the following items remain outstanding:

       Credentials for the email address nsm88media2@protonmail.com;

       Credentials to access the non-public content of the following websites: nsm88.org, NSMradio.org;
        nsmmedia.org, nsm88records.com.

         With respect to NSM and NF, it remains the case that you have only produced items to the vendor in the
possession of Jeff Schoep. As we have noted, we believe there are others within those organizations who
possess responsive documents, including, for example, Brian Culpepper, who was a spokesman for NSM at the
time of Unite the Right, and Burt Colucci, who, according to recent deposition testimony, apparently set up and
controlled an e-mail system for NSM that contained relevant documents. It is our position that you have not
fulfilled your obligation to conduct a reasonable investigation of the entities you represent to respond fully to
our discovery requests. Please let us know by Wednesday, August 28, whether you intend to produce
documents on behalf of NSM or NF for custodians other than Jeff Schoep. If we do not hear from you on this
issue prior to Wednesday, August 28, we will presume you do not intend to make any inquiry regarding
additional custodians for NF or NSM and we will raise these issues with the Court.

        We ask that Defendant Schoep send the third-party vendor the outstanding credentials to the above-
listed accounts and that NSM and NF provide supplemental certifications with electronic devices and accounts
for additional custodians by August 28.

       Additionally, if there are more accounts and devices of which Plaintiffs are unaware that contain
potentially responsive documents, Defendants are obligated to identify and produce those account credentials
and devices. Thanks.


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